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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,

       v.
                                                            Case No. 1:19-cv-01974-TNM
UNITED STATES DEPARTMENT OF THE
TREASURY, et al.,

                       Defendants,

DONALD J. TRUMP, et al.,

                       Defendant-Intervenors.


                        MOTION TO VACATE HEARING AND
                     FOR SUPPLEMENTAL BRIEFING ON MCGAHN

       1.       Plaintiff Committee on Ways and Means respectfully requests that the Court (a)

vacate the Thursday, March 5, 2020 hearing on the Committee’s Motion to Lift Stay (Dkt. 79)

and (b) permit the parties to file short, supplemental briefs by Friday, March 13, 2020 regarding

the effect on this case of the D.C. Circuit’s recent decision in Committee on the Judiciary v.

McGahn, No. 19-5331 (D.C. Cir. Feb. 28, 2020) (McGahn Op.).

       2.       On January 14, 2020, the Court stayed this case pending a decision in McGahn.

See Minute Order (Jan. 14, 2020). On January 28, 2020, the Committee filed a Motion to Lift

Stay (Dkt. 79), which was fully briefed as of February 15, 2020 (Dkt. 82). Now that McGahn

has been decided, the predicate for the Court’s stay has disappeared, and a hearing on the

Committee’s motion is no longer necessary.
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       3.       McGahn was wrongly decided, and the Committee on the Judiciary intends to file

a petition for rehearing en banc by March 9, 2020, the expedited 10-day deadline set by the D.C.

Circuit. Order, Committee on the Judiciary v. McGahn, No. 19-5331 (D.C. Cir. Feb. 28, 2020).

However, as the Committee has already advised the Court, crucial differences exist between the

threshold issues presented in McGahn and those in this case. See Motion to Lift Stay, Dkt. 79 at

2-4 (Jan. 28, 2020). Among them, this case involves not only a subpoena-enforcement action but

also the Committee’s request for President Trump’s tax returns and related administrative files

pursuant to 26 U.S.C. § 6103(f), which gives the Committee a mandatory statutory entitlement to

the information it seeks. See McGahn Op. at 28 (explaining that “[a] statute could mitigate the

separation-of-powers considerations that counsel against adjudicating interbranch disputes”).

President Trump has also intervened in this case in his individual capacity. See Dkts. 12, 14.

       4.       In light of the above and the Court’s prior indication that it might welcome such

additional briefing once McGahn was decided (Conf. Tr., Dkt. 78 at 15:8-10), the Committee

respectfully requests that the Court vacate the upcoming hearing and permit the parties until

Friday, March 13, 2020 to file 10-page supplemental briefs on the effect of McGahn on this case.

       5.       Plaintiff does not believe that Point 8 from the Court’s Standing Order applies in

this instance because it is not requesting to either reschedule or extend the time for the hearing,

which was set by the Court on February 28, 2020, four business days before the hearing date.

       6.       Pursuant to Local Rule 7(m), counsel for Plaintiff conferred with counsel for

Defendants and Defendant-Intervenors, who stated that they oppose the motion.

                                                      Respectfully submitted,

                                                      /s/ Douglas N. Letter
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March 4, 2020




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